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EXHIBIT
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Polaris Explorer U.S.A. Inc. 5 A
10390 Bradford Road, Suite 215
Littleton, CO 80127

Darlene,

As per our phone conversation this moming, I am writing to request a cost accumulation
number for Polaris Explover. We will be conducting a geophysical survey within the
boundaries of the ition Pacific Railroad right of way and need the number in order to
hire flegmen from Union Pacific. Gur survey will start in Terrell, Texas at MP 184.09
and end near Weatherford, Texas at MP 273.80, Our work should start around August 7,

wen?

2007 and end before October 7, 2007.
The billing information is: Polaris Explorer U.S.A. lnc,
10288 West Chatfield Ave, Suite 302

. Littleton, CO $0127
sits Ati: Heidi Sololis
ee Phone: (303) 904-6760
a , , ieeynbed anything else, please call nse on my cell phone at (432) 770-8532 or
\ Thanks forthe Sis eee
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TOTAL P.@4

